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                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION


UNITED STATES OF AMERICA                      §
                                              §
versus                                        § CRIMINAL ACTION NO. 4:23-CR-268
                                              §
WILLIAM MCKINNLEY GARLAND


                                     PRE-TRIAL ORDER

              This case is set for Pre-Trial Conference on February 5, 2024, at 9:00 a.m.

in Courtroom #105, United States Courthouse, 7940 Preston Road, Plano, Texas, at which time the
case will either proceed to Jury Selection and Trial, or a date will be set for Jury Selection and
Trial.


     The following deadlines shall apply in this case.


     January 2, 2024            Any motion to suppress evidence shall be filed with the court.




     January 16, 2024           Any motion for continuance shall be filed with the court.


     January 26, 2024           Counsel for the Government shall deliver to counsel for
                                Defendant(s) proposed jury instructions.


     January 16, 2024            Notification of a plea agreement shall be by email, hand delivery
         By 4:00 PM             or fax of a signed copy of the plea agreement and factual basis for
                                the plea. Notification that the case will proceed to trial may be by
                                email or telephone. After this deadline, no plea agreement will
                                be honored by the court, and Defendant may not receive a
                                points reduction for acceptance of responsibility.


     January 29, 2024           If the parties do not notify the Court of a plea agreement as
                                provided above, defense counsel shall deliver to counsel for the
                                Government any additional jury instructions desired by
                                Defendant(s). If two or more Defendants are represented by
                                separate counsel, their submission must be made jointly.
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     January 29, 2024           Counsel for Defendant(s) and counsel for the Government shall
                                confer to determine which jury instructions can be agreed upon.

     January 29, 2024           Parties shall file any motions in limine and any other pretrial
                                motions.



     January 29, 2024           Counsel for the Government and counsel for the Defendant(s) shall:



           A. Jointly file agreed upon instructions;


           B. Each file any proposed instructions that were not agreed upon, citing the authority
                 for each instruction. (Any party seeking to file proposed jury instructions after the
                deadline may do so only with leave of Court.);


           C. Each file any objections to the other s proposed jury instructions. Objections must
                 be written, specific, cite authority, and include any alternate instructions counsel
                 deem more appropriate;


           D. Each file proposed voir dire questions;

           E. If counsel believes that a written response to a particular motion in limine is
                 needed, file it as soon as possible;

           F. Each file a list of witnesses and a list of exhibits anticipated to be introduced
                during trial. Each provide the court a copy of each marked exhibit. All exhibits to
                be used for trial shall be pre-marked numerically and in succession. (Groups of
                 exhibits pertaining to the same subject matter, such as photos of same scene, may,
                 at counsel s discretion be numbered and lettered, i.e., 2a, 2b, 2c, etc.) Counsel
                 shall provide the Court the original and two (2) copies of each list and marked
                 exhibit.

So ORDERED and SIGNED this 21st day of December, 2023.




                                             KIMBERLY C. PRIESf JOHNSON
                                             UNITED STATES MA ISTRATE JUDGE
